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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONALD CLARK WRIGHT, III,                    )
                                             )
       Plaintiff,                            )
                                             )      CIVIL ACTION FILE NO.:
v.                                           )      1:21-CV-5197-MHC
                                             )
BRANDON WARREN and VICTOR HILL,)
in their individual and official capacities, )
                                             )
       Defendants.                           )
                                             )

       DEFENDANTS’ MOTION TO STAY ALL DISCOVERY AND
             MEMORANDUM OF LAW IN SUPPORT

      COME NOW Defendants Brandon Warren and Victor Hill (hereinafter

“defendants”), by and through the undersigned counsel of record, and pursuant to

Federal Rule of Civil Procedure 26(d) and L.R. 26.1, respectfully move this Court

for an order staying all discovery in this action, including disclosures and planning

conferences pursuant to FED. R. CIV. P. 26 and L.R. 16.1 and 16.2, pending a final

ruling on defendants’ motion to dismiss plaintiff’s complaint. As grounds for this

motion, defendants show the following:

                             I.    INTRODUCTION

      Defendants have filed a motion to dismiss based on the allegations contained

in plaintiff’s complaint. In their motion, defendants seek an order dismissing

plaintiff’s claims against them for failure to state a claim and based on qualified
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immunity, official immunity, Eleventh Amendment immunity, and sovereign

immunity, among other grounds.       As such, depending on the Court’s ruling,

plaintiff’s claims against defendants may be dismissed, thereby rendering

discovery unnecessary. In the interests of efficiency and justice, and to prevent

undue burden and expense, defendants now request that all discovery, including

disclosures and planning conferences pursuant to FED. R. CIV. P. 26 and L.R. 26.1,

be stayed pending the Court’s consideration of and ruling on defendants’ motion to

dismiss.

           II.   ARGUMENT AND CITATION TO AUTHORITY

      This Court has broad discretion to control discovery. Indeed, Rule 26(d) of

the Federal Rules of Civil Procedure provides the Court broad discretion to alter

the sequence of discovery “for the convenience of the parties . . . and in the

interests of justice.” FED. R. CIV. P. 26(d); see also Panola Land Buyers Ass’n v.

Shuman, 762 F.2d 1550, 1558-59 (11th Cir. 1985) (court has “broad discretion to

stay discovery until the district court rules on a pending dispositive motion”).

Pursuant to this authority, it is proper for a trial court to stay discovery while a

dispositive motion is pending. Horsley v. Feldt, 304 F.3d 1125, 1131 n.2 (11th

Cir. 2002) (ruling that stay of discovery was proper pending district court’s

disposition of a motion for judgment on the pleadings that challenged the

sufficiency of the complaint’s allegations); Chudasma v. Mazda Motor Corp., 123


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F.3d 1353, 1367 (11th Cir. 1997) (holding that stay of discovery was proper

pending district court’s resolution of motion based on failure to state a claim for

relief).

       In exercising its discretion, this Court should stay discovery in this matter,

thereby relieving the parties from having to expend time and resources on

discovery pending a ruling on defendants’ motion to dismiss. Any discovery

conducted before such a ruling would likely be overly broad and encompass claims

which are subject to dismissal. As the Eleventh Circuit has noted, “[e]xperience

teaches that, unless cases are pled clearly and precisely, issues are not joined,

discovery is not controlled, the trial court’s docket becomes unmanageable, the

litigants suffer, and society loses confidence in the court’s ability to administer

justice.” Anderson v. Dist. Bd. Of Trs. of Cent. Fla. Cmty. Coll., 77 F.3d 364,

366-67 (11th Cir. 1996). The purpose of discovery is not “to enable a plaintiff to

make a case when [his] complaint has failed to state a claim.” Butler v. Sukhoi

Co., 579 F.3d 1307, 1315 (11th Cir. 2009) (citing Kaylor v. Fields, 661 F.2d 1177,

1184 (8th Cir. 1981)). Rather, “[d]iscovery should follow the filing of a well-

pleaded complaint.” Kaylor, 661 F.2d at 1184.

       In their motion, defendants have demonstrated to the Court that under no

circumstances can they be held liable to plaintiff on his asserted claims in the

complaint. Because defendants’ motion is limited to those well-plead allegations


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in plaintiff’s complaint, there is no need for discovery at the present time as no

factual development is necessary for the Court to pass upon the sufficiency of

plaintiff’s claims against them. Mullins v. M.G.D. Graphics Systems Group, 867

F.Supp. 1578, 1579 (N.D. Ga. 1994) (“the Court must presume, for purposes of

this motion, that all well-pleaded factual allegations of the Complaint are true and

all contravening assertions in the movant’s pleadings are false.”).

      Additionally, a stay of discovery is particularly warranted in this case as

defendants have asserted various immunities from suit. This “entitlement is an

immunity from suit rather than a mere defense to liability; and like an absolute

immunity, it is effectively lost if a case is erroneously permitted to go to trial.”

Miracle by Miracle v. Spooner, 978 F. Supp. 1161, 1175 (N.D. Ga. 1997) (citing

Griesel v. Hamlin, 963 F.2d 338, 340 (11th Cir. 1992)). The Supreme Court

“repeatedly [has] stressed the importance of resolving immunity questions at the

earliest possible stage in the litigation.” Hunter v. Bryant, 502 U.S. 224, 227

(1991); Siegert v. Gilley, 500 U.S. 226, 231–32 (1991) (noting that immunity is a

threshold issue and discovery should not be allowed while the issue is pending);

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982) (“Until this threshold immunity

question is resolved, discovery should not be allowed.”).

      For these reasons, an order staying all discovery, including disclosures and

planning conferences pursuant to FED. R. CIV. P. 26 and L.R. 26.1, will protect all


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parties from expending time, effort, and resources on potentially irrelevant claims

or issues.

                              III.   CONCLUSION

      For the foregoing reasons, defendants respectfully request that the Court

grant this motion and stay all discovery in this matter pending the Court’s

consideration of and ruling on defendants’ motion to dismiss plaintiff’s complaint.

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Local Rule 7.1(D), that the foregoing

memorandum of law has been prepared in accordance with Local Rule 5.1(C)

(Times New Roman font, 14 point).

      This 13th day of January, 2022.

                                        FREEMAN MATHIS & GARY, LLP

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                        CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

DEFENDANTS’         MOTION        TO      STAY     ALL     DISCOVERY        AND

MEMORANDUM OF LAW IN SUPPORT to the Clerk of Court using the

CM/ECF system which will automatically send electronic mail notification of such

filing to counsel of record who are CM/ECF participants:

                               William S. Cowsert
                               Joseph D. Stephens
                               Cowsert Heath, LLP
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                              Athens, Georgia 30603

      This 13th day of January, 2022.

                                        FREEMAN MATHIS & GARY, LLP

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